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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION




   QUINTEL TECHNOLOGY LTD.,                      §
                                                 §
                      PLAINTIFF,
                                                 §
                                                 §
                                                 §
   v.                                            §             NO. 4:15-CV-00307-ALM-CMC
   HUAWEI TECHNOLOGIES USA, INC.,                §
   FUTUREWEI TECHNOLOGIES, INC., HUAWEI          §
   TECHNOLOGIES CO., LTD., AND ZHENGXIANG        §
   MA,                                           §
                                                 §
                      DEFENDANTS.                §


                    ORDER ON AMENDED JOINT MOTION TO DISMISS
                            PURSUANT TO RULE 41(a)(2)

          Before the Court is Plaintiff Quintel Technology Ltd. (“Quintel”) and Defendants

   Huawei Technologies USA, Inc., FutureWei Technologies Inc., Huawei Technologies

   Co., Ltd., and Zhengxiang Ma (collectively, “Defendants” - Dkt. #310) Amended Joint

   Motion to Dismiss Pursuant to Rule 41(a)(2)(“Motion”).           In light of the Parties’

   Motion, it is therefore ORDERED that the Amended Joint Motion to Dismiss Pursuant

   to Rule 41(a)(2) is hereby GRANTED.

          It is further ORDERED that all claims in this action are hereby DISMISSED WITH

   PREJUDICED.

          It is further ORDERED that all attorneys’ fees, expenses, and costs shall be borne by

   the party that incurred them.
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            It is further ORDERED that the Court will retain jurisdiction over the Parties for

     the purposes of enforcing the Parties’ final settlement agreement.
 .
            All relief not previously granted is hereby denied.

            The Clerk is directed to close this civil action.


            IT IS SO ORDERED.
             SIGNED this 15th day of May, 2018.




                                            ___________________________________
                                            AMOS L. MAZZANT
                                            UNITED STATES DISTRICT JUDGE
